Case 3:16-md-02741-VC Document 2593-2 Filed 01/30/19 Page 1 of 10




    EXHIBIT 1
Case 3:16-md-02741-VC Document 2593-2 Filed 01/30/19 Page 2 of 10
                                                                     61871778
                                                                    Apr 03 2018
                                                                     04:21PM
Case 3:16-md-02741-VC Document 2593-2 Filed 01/30/19 Page 3 of 10
Case 3:16-md-02741-VC Document 2593-2 Filed 01/30/19 Page 4 of 10
Case 3:16-md-02741-VC Document 2593-2 Filed 01/30/19 Page 5 of 10
Case 3:16-md-02741-VC Document 2593-2 Filed 01/30/19 Page 6 of 10
Case 3:16-md-02741-VC Document 2593-2 Filed 01/30/19 Page 7 of 10
Case 3:16-md-02741-VC Document 2593-2 Filed 01/30/19 Page 8 of 10
Case 3:16-md-02741-VC Document 2593-2 Filed 01/30/19 Page 9 of 10
Case 3:16-md-02741-VC Document 2593-2 Filed 01/30/19 Page 10 of 10
